2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 1 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 2 of 20
2:21-cv-03398-RMG-MGB             Date Filed 10/18/21    Entry Number 1         Page 3 of 20




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA



                                                     Complaint for a Civil Case

                                                              2:21-CV-03398-RMG-MHB
                                                     Case No. ----------
(Write the full name of each plaintiffwho isfiling
                                                     (to be filled in by the Clerk's Office)
this complaint. Ifthe names of all the plaintiffs
cannotfit in the space above, please write "see
attached" in the space and attach an additional
                                                     Jury Trial:     □ Yes □ No
                                                                     (check one)
page with the full list of names.)

   -against-




(Write the full name of each defendant who is
being sued. Ifthe names of all the defendants
cannotfit in the space above, please write "see                                                 �
attached" in the space and attach an additional                                                         n

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page with the full list of names.)                                                              C"")
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2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 4 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 5 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 6 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 7 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 8 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 9 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 10 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 11 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 12 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 13 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 14 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 15 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 16 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 17 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 18 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 19 of 20
2:21-cv-03398-RMG-MGB   Date Filed 10/18/21   Entry Number 1   Page 20 of 20
